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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov

In re:                                                                                  Case No.
                                                                                        19-13846-RAM Chapter 7
AMY LEE
BURKICH

                      Debtor             /


                                              CERTIFICATE OF SERVICE

           I certify that a true copy of MOTION TO SET HEARING (D.E. 37) and MOTION

FOR RELIEF FROM STAY (D.E. 36) were served as follows:

ELECTRONICALLY:

J a c q u e l i n e C a l d e r i n , c a l d e r i n t r u s t e e @ gm a i l . c o m , j c a l d e r i n @ e c f . a x o s f s . c o m ;
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Trustee Office of the U.S. Trustee, USTPRegion21.MM.ECF@usdoj.gov

BY MAIL:

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Dated:5/22/2019
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                                                                             By:/s/ Michael B. Feiler
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                                                                               Board Certified Civil Trial Lawyer
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